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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 1:21-CV-22825-DIMITROULEAS/BECERRA

    SONY MUSIC ENTERTAINMENT; SONY
    MUSIC ENTERTAINMENT US LATIN
    LLC; ZOMBA RECORDING LLC; ARISTA
    MUSIC; ARISTA RECORDS LLC;
    LAFACE RECORDS LLC; RECORDS
    LABEL, LLC; VOLCANO
    ENTERTAINMENT III LLC,

             Plaintiffs,

        v.

    VITAL PHARMACEUTICALS, INC. d/b/a
    BANG ENERGY AND JACK OWOC, AN
    INDIVIDUAL

          Defendants.
    ____________________________________/

                      PLAINTIFFS’ MOTION FOR SPOLIATION SANCTIONS

             Pursuant to Federal Rule of Civil Procedure 37 and the Court’s inherent power, Plaintiffs

   respectfully move the Court for adverse inferences against defendants Vital Pharmaceuticals, Inc.

   d/b/a Bang Energy (“Bang”) and Jack Owoc (collectively “Defendants”), for an award of the

   attorneys’ fees and costs Plaintiffs incur in bringing this motion, and for such other relief as the

   Court deems proper owing to the spoliation of critical evidence in this action.

                                           INTRODUCTION

             Plaintiffs respectfully submit that the Court should sanction Defendants for failing to

   preserve and for destroying critical evidence, and knowingly concealing their spoliation from both

   Plaintiffs and the Court for months.
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          Prior to the commencement of this action, Plaintiffs specifically identified 252 videos

   posted by Defendants and their influencers on social media platforms that infringed Plaintiffs’

   copyrighted music, expressly demanding that Defendants preserve all evidence related to the

   unlicensed use of that music. After commencing this action, Plaintiffs requested in discovery that

   Defendants produce all videos they and their influencers posted to social media. Rather than

   preserving and producing the requested videos, Defendants apparently destroyed hundreds of

   them, including approximately two-thirds of the videos identified by Plaintiffs.          Although

   Defendants knew they failed to preserve the videos and that they had been lost or destroyed,

   Defendants misled Plaintiffs into believing that the videos would be produced, violated multiple

   court orders compelling Defendants to produce the videos at issue in this action, and then, only

   when left with literally no alternative but to defy this Court’s insistence on production of the

   videos, admitted that 171 videos were lost.

          Plaintiffs have been severely prejudiced by Defendants’ spoliation. As an initial matter,

   Plaintiffs wasted almost three and a half months meeting and conferring about videos that

   Defendants knew or should have known they no longer had. More importantly, the videos are

   direct evidence of Defendants’ infringement and, if properly preserved, would have revealed the

   “reach” of the videos on social media (i.e., the number of views, likes, and comments by other

   social media users). This evidence is directly relevant to both liability and damages.

          Under the settled law of this Circuit, Defendants’ misconduct warrants sanctions, including

   the imposition of an adverse inference that: (i) for each video identified by Plaintiffs that cannot

   now be located because that video was not properly preserved, the video is deemed to have

   embodied the copyrighted sound recording as alleged; and (ii) the videos that were not preserved




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   were viewed as many times and had as much social media engagement and reach as the most

   popular videos posted by Defendants or their influencers on social media.1

                                             BACKGROUND

   A.     Defendants Infringed Plaintiffs’ Copyrighted Musical Works.

          Plaintiffs seek to hold Defendants accountable for their extensive unauthorized commercial

   use and infringement of Plaintiffs’ famous copyrighted musical works on social media.

          On April 13, 2021, Plaintiffs sent Bang an email regarding its unauthorized use of

   Plaintiffs’ sound recordings that, among other things, expressly demanded that “Bang Energy . . .

   preserve[] all documents and materials related to the unlicensed use of commercial music” and

   attached exhibits listing 252 that infringed Plaintiffs’ sound recordings videos. (Rose Decl. at ¶14

   & Ex. 1). The parties then entered into a tolling agreement so that they could explore whether

   Defendants’ infringement could be resolved short of litigation. (Id. at ¶15).

          When Plaintiffs commenced this action on August 4, 2021, their Complaint annexed an

   exhibit listing more than 209 infringing social media videos that Plaintiffs had compiled. (D.E. 1,

   Ex. 1).2 On January 31, 2022, Plaintiffs amended their Complaint and attached an exhibit to the

   First Amended Complaint listing 261 infringing social media videos. (D.E. 29, Ex. 1). Plaintiffs

   made clear in their pleadings that the lists of videos they provided were “illustrative, non-



   1
     For the sake of clarity, Plaintiffs are not seeking adverse inference (i) with respect to those videos
   that they were able to locate, but only with respect to the videos that either they could not locate
   or could not completely download, and that Defendants cannot now produce. A list of the videos
   for which Plaintiffs seek adverse inference (i) is annexed as Exhibit 7 to the Declaration of David
   Rose executed on June 7, 2022 (“Rose Decl.”). However, adverse inference (ii) is required even
   for videos that Plaintiffs could locate because the download process does not allow Plaintiffs (as
   opposed the Defendants as the posters or re-posters of videos) to obtain information concerning
   the respective videos’ social media “reach.”
   2
     The reduction in the number of videos from 252 in Plaintiffs’ April 13, 2021 letter to 209 in their
   Complaint resulted from the fact that applications for copyright registration were still pending for
   a number of the sound recordings addressed in the April 2021 letter.
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   exhaustive examples of known infringements” and that “[d]iscovery is likely to reveal that the

   Bang Defendants have unlawfully exploited numerous additional sound recordings owned and/or

   controlled by Sony Music, in whole or in part, on TikTok, YouTube, Instagram, and Facebook,

   and potentially others.” (D.E. 1, at ¶¶ 71-72; D.E. 29, at ¶¶ 73-74).

   B.     Defendants Failed to Produce the Videos and Have Admitted to Spoliation.

          On December 15, 2021, Plaintiffs served Defendants with document requests. (Rose Decl.,

   ¶6). Although Defendants consistently assured Plaintiffs that they were reviewing documents for

   production, it ultimately (and unfortunately) became clear that they were not going to comply with

   their discovery obligations, including the production of videos in response to Requests for

   Production Nos. 13 and 54. (Id., ¶8).

          On May 2, 2022, Plaintiffs – in accordance with Magistrate Judge Becerra’s rules –

   submitted a notice of discovery hearing to address, in part, the parties’ dispute over the scope of

   documents to be produced in response to Document Requests Nos. 13 and 54. (D.E. 38).

   Following the hearing, which was held on May 3, 2022, Magistrate Judge Becerra ordered

   Defendants to produce the videos identified in the First Amended Complaint within 7 days of the

   hearing (i.e., by May 10, 2022). (D.E. 40). On May 10, 2022, Plaintiffs filed a second notice of

   discovery hearing for a hearing the Court had set for May 10, 2022, in which Plaintiffs indicated

   that they were still “waiting for the production of:…[a]ll pertinent videos responsive to Requests

   Nos. 13 and 54 pursuant to this Court’s Order. (D.E. 40).” (D.E. 41). The Court then ordered that

   Defendants produce “[a]ll videos responsive to Request Nos. 13 and 54” by 6:00 P.M. on May 10,

   2022. (D.E. 43). Defendants completely flouted the Court’s production Order, which resulted in

   the Court issuing the following further Order:

            Defendants failed to produce all videos listed in the First Amended Complaint
            that are responsive to Request Nos. 13 and 54. Plaintiffs' Motion to Compel is


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            hereby GRANTED. Defendants are ORDERED to produce all 261 videos, in
            downloaded form and on a rolling basis, to be complete by Sunday, May 12,
            2022 at 12:00 p.m. Within 7 days of that production, Plaintiffs shall identify
            the 25 videos for which Plaintiffs permit Defendants to re-upload and the
            timeframe for which Plaintiffs permit those 25 videos to remain uploaded.
            Plaintiffs shall then record those 25 videos via Plaintiffs' preferred manner.
            Plaintiffs are entitled to costs for the recording or otherwise documenting of
            those videos by Plaintiffs. Plaintiffs' Motion for Sanctions under Rule 37 as to
            this late production is also hereby GRANTED. Plaintiffs are entitled to recover
            attorneys' fees and costs not only in connection with Plaintiffs' counsel's
            attendance at today's hearing, as well as any additional time expended by counsel
            with respect to efforts to obtain production of the videos responsive to Request
            Nos. 13 and 54…

   (D.E. 46).

          However, during his deposition on May 12, 2022, Bang’s Chief IP counsel, Gideon

   Eckhouse, testified that it was his understanding that Defendants could not find an indeterminate

   number of the videos at issue in this action. (Rose Decl., ¶16, Ex. 2 at 97:6-101:12). Then, on

   May 15, 2022, Defendants served a declaration by Mr. Eckhouse in which he admitted that most

   of the videos at issue had actually been “deleted” and were “no longer accessible” to Bang. (Rose

   Decl., Ex. 3, at ¶¶6-7). Indeed, “a total of 171 accused social media posts from Plaintiffs’ Exhibit

   1 [to the First Amended Complaint] are no longer in the custody, control, or possession of Bang

   Energy” (the “Lost Videos”). (Id., at ¶10).

          Mr. Eckhouse also stated in his declaration that Bang took down “no less [sic] than 215

   accused social media posts” in “the Summer and Fall of 2021.” (Id., at ¶4).3 And, despite having

   an obligation to preserve the videos, Mr. Eckhouse admitted that for videos posted as Facebook

   videos and Instagram “reels,” “deletion of such accused posts from the platform was incidental to



   3
    Notably, Defendants have recently advised Plaintiffs that they did not record or track the date on
   which they took down the videos at issue. (Rose Decl. at ¶18.) Those dates are, however,
   important to establishing how long the videos were up, Defendants’ willfulness and the extent of
   Plaintiffs’ damages. It is a further example of Defendants’ disregard for legal obligations, their
   disregard for others’ rights, and their lack of diligence.
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   taking them down.” (Id., at ¶6). Additionally, Mr. Eckhouse stated that Bang took down some of

   the accused videos by “converting them to ‘private mode’” on a social media platform, but

   inexplicably, “a portion of them are no longer accessible even to Bang Energy.” (Id., at ¶¶5,7).4

   Mr. Eckhouse further stated that some of the Lost Videos could possibly be saved within the

   application Dropbox, however, he professed that searching for them would be too difficult to

   undertake, more than implying that no effort had been made, would be made or could be made to

   perform such a search. (Id., at ¶11).5

          After reviewing Mr. Eckhouse’s May 15, 2022 Declaration during the May 24, 2022

   discovery hearing, the Court observed that Defendants had represented to the Court “on multiple

   occasions” that they actually had the Lost Videos. (See Rose Decl., Ex. 5 at 47:2-10; 47:23-48:6).

   Indeed, Defendants represented to the Court, during the May 10, 2022 discovery hearing, that

   “their team [was] working diligently to produce the [Lost Videos] by the end of the day (May 10,

   2022), as the Court previously ordered.” (See Rose Decl., Ex. 6 at 21:24-22:25). When the Court

   learned that Defendants only discovered they were missing the Lost Videos on May 13, 2022 or

   May 14, 2022, the Court asked: “So nobody bothered to start looking for a video until after the last

   order?” (Rose Decl., Ex. 5 at 48:12-25). The Court then asked Defendants: “How is that not bad

   faith? How is that not sanctionable conduct?” (Id. at 49:1-2). Indeed, the Court later stated that it




   4
     During his deposition in a parallel case, UMG Recordings, Inc. et al. v. Vital Pharmaceuticals,
   Inc. d/b/a Bang Energy et al., Case No. 21-cv- 60914 (S.D. Fla.) (the “UMG Matter”), Bang’s
   former legal support manager, Alex Rodriguez, testified that he was involved in the process of
   preserving videos and that “some” videos were not preserved. (Rose Decl., Ex. 4 at 21:25-22:2.)
   Mr. Rodriguez testified that he did not recall which videos were lost and refused to provide
   additional details about the preservation process under the guise of a privilege objection. (Id. at
   22:3-23:18). Defendants knowingly concealed their failure to preserve videos for months.
   5
     What Mr. Eckhouse is saying is that the Lost Videos are lost for all actual and practical purposes.
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   “wasn’t expecting…[Plaintiffs] to tell [it] that those videos aren’t there now…this is absurd.” (Id.

   at 67:9-13).

          In short, despite Plaintiffs’ requests, and Defendants’ manifest obligation, to preserve the

   Lost Videos as early as April 2021, Defendants failed to do so, and instead strung Plaintiffs along

   during months of discovery – then flouted this Court’s orders – only to admit at the eleventh hour

   that they had failed to preserve the Lost Videos. Ultimately, approximately two-thirds of the

   infringing videos at issue in this case were not preserved.

                                              ARGUMENT

   A.     Legal Standard for Imposing Spoliation Sanctions.

          “Spoliation is the destruction or significant alteration of evidence, or the failure to preserve

   property for another’s use as evidence in pending or reasonably foreseeable litigation.” Hyundai

   Motor Am. Corp. v. N. Am. Auto. Servs., Inc., No. 20-82102-CIV, 2021 WL 3111191, at *5 (S.D.

   Fla. July 22, 2021) (quoting Gaff v. Baja Marine Corp., 310 F. App’x 298, 301) (11th Cir. 2009)).

   Federal law governs the imposition of spoliation sanctions, but the Court’s opinion may be

   informed by state law, provided that it is consistent with federal law. Flury v. Daimler Chrysler

   Corp., 427 F.3d 939, 944 (11th Cir. 2005).

          To establish spoliation, a party must demonstrate: (1) that the missing evidence once

   existed; (2) that the alleged spoliator had a duty to preserve the evidence; (3) that the evidence was

   crucial to the movant be able to prove its prima facie case or defense; and (4) the alleged spoliator

   acted in bad faith. Id. at *6. Importantly, “courts in this district interpret ‘bad faith’ in the

   spoliation context to not require a showing of malice or ill-will, but rather conduct evidencing

   more than mere negligence.” Id. at *9; see also Penick v. Harbor Freight Tools, USA, Inc., 481




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   F. Supp. 3d 1286, 1293 (S.D. Fla. 2020) (“bad faith is deemed to exist in either a case of intentional

   misconduct or reckless disregard of the consequences”).

   B.     Spoliation Sanctions Are Warranted.

          1.      The Lost Videos Once Existed.

          On April 13, 2021, Plaintiffs identified 252 infringing videos to Defendants that Plaintiffs’

   demanded be preserved. (See, e.g., Rose Decl., Ex. 1). Additionally, Plaintiffs provided updated

   lists of infringing videos they discovered, culminating in the list annexed to their First Amended

   Complaint in January 2022. (D.E. 29-1) Defendants admittedly “removed” at least 215 of the

   videos identified by Plaintiffs or purportedly set them to “private”, and cannot locate 171 of the

   videos at issue in this action. (Rose Decl., Ex. 3 at ¶¶ 4, 10).

          2.      Defendants Had a Duty to Preserve the Lost Videos.

          “A party has an obligation to retain relevant documents, including emails, when litigation

   is reasonably anticipated.” Penick, 481 F. Supp. 3d at 1293 (citation omitted) (collecting cases);

   Optowave Co. v. Nikitin, No. 6:05-cv-1083-Orl-22DAB, 2006 WL 3231422, at *7 (M.D. Fla. Nov.

   7, 2006) (“Sanctions may be imposed against a litigant who is on notice that documents and

   information in its possession are relevant to litigation, or potential litigation…and destroys such

   documents and information. [A litigant] is under a duty to preserve what it knows, or reasonably

   should know, is relevant in the action…”).

          Here, Defendants knew they had a duty to preserve the Lost Videos when Plaintiffs

   expressly demanded that they do so on April 13, 2021. (Rose Decl., Ex. 1). Thus, based on SME’s

   April 13, 2021 demand, there is no question that litigation was reasonably anticipated as of that

   date and that Defendants’ duty to preserve videos containing commercial music was triggered as




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   of that date (at the latest).6 Further, Defendants removed videos from social media after this

   lawsuit was filed. (Id., Ex. 3 at ¶ 4 (admission by Mr. Eckhouse that Defendants removed

   infringing videos in the “Summer and Fall of 2021”)). Because litigation had been commenced

   by August 4, 2021, Defendants unquestionably had a duty to preserve the videos they removed at

   that time.

          3.      The Lost Videos Are Crucial to Plaintiffs’ Case.

          The Lost Videos are critical to Plaintiffs’ ability to prove their case. Specifically, the Lost

   Videos would allow Plaintiffs to demonstrate known and additional infringements to the Court,

   and to determine the number of views received by and extent of engagement regarding each

   infringing video. Defendants’ failure to preserve the Lost Videos has deprived Plaintiffs of that

   crucial evidence. See Hyundai Motor Am. Corp., 2021 WL 3111191, at *9 (holding that where

   plaintiff alleged conspiracy to defraud plaintiff by intentionally damaging engines, the returned

   engines were crucial evidence); Penick, 481 F. Supp. 3d at 1294 (holding generator plaintiff

   alleged to have malfunctioned was “material to the proof or defense of a claim at issue in this

   case”); Graff v. Baja Marine Corp., 310 F. App’x 298, 302 (11th Cir. 2009) (portion of boat that

   had fractured was “the critical piece of evidence in this case” as it would support either plaintiff

   or defendant’s arguments as to whether a manufacturing defect had caused the accident at issue).

   Notably, the Court can take judicial notice that in the UMG Matter, Defendants have cynically

   moved for summary judgment on the grounds that the plaintiffs in that case cannot establish that

   their content was used by the Defendants because the videos at issue no longer exist; Defendants

   can be expected to employ the same tactic here absent the adverse inference requested. (UMG

   Matter D.E. 60).


   6
    Moreover, shortly thereafter, the parties entered into a tolling agreement effective as of April 13,
   2021 while they discussed a possible settlement. (Id.)
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           4.      Defendants Destroyed the Lost Videos in Bad Faith.

           As noted above, in the Eleventh Circuit bad faith does not require intentional destruction

   of evidence. Penick, 481 F. Supp. 3d at 1293. Rather, “bad faith is deemed to exist in either a

   case of intentional misconduct or reckless disregard of the consequences.” Id. Indeed, the moving

   party may establish bad faith through circumstantial evidence if four factors are present:

           (1) evidence once existed that could fairly be supposed to have been material to the
           proof or defense of a claim at issue; (2) the spoliating party took an affirmative act
           causing the evidence to be lost; (3) the spoliating party did so while it knew or
           should have known of its duty to preserve the evidence; and (4) the affirmative act
           causing the loss cannot be credibly explained as not involving bad faith by the
           reason proffered by the spoliator.

   Hyundai Motor Am. Corp., 2021 WL 3111191, at *7-8 (citing Penick, 481 F. Supp. 3d at 1292).

   Here, all four factors are satisfied.

                   a. Evidence Once Existed That Was Material to Plaintiffs’ Claims.

           As explained above, the Lost Videos are critical evidence for both liability and damages.

   Accordingly, under the circumstances presented here, this factor is established. See Hyundai

   Motor Am. Corp.,2021 WL 3111191, at *10 (finding this factor met where plaintiff intentionally

   destroyed critical evidence “at the heart of the[] allegations . . . which Defendants sought to

   examine and inspect but were prevented from doing so by Plaintiff’s disposal”).

                   b. Defendants Took an Affirmative Act Causing the Videos To Be Lost.

           It is indisputable that Defendants took an affirmative act that caused the videos to be lost.

   Specifically, Defendants admittedly removed the videos from their publicly available social media

   accounts and failed to preserve them. (Rose Decl., Ex. 3 at ¶¶ 4-9 (admitting that Defendants

   “took down” hundreds of videos, that only some videos were preserved, and that some videos were

   deleted); id., Ex. 4 at 21:25-22:2 (“Q: Were there any videos that were not preserved? A: Yes,

   sir.”)). Thus, Defendants are culpable for the loss of the Lost Videos.


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                  c. The Defendants Knew or Should Have Known They Had a Duty To
                     Preserve the Lost Videos.

          As detailed above, at the time Defendants spoliated the Lost Videos, Plaintiffs had already:

   (i) made a pre-suit preservation demand in April 2021; (ii) had entered into a tolling agreement

   with Defendants; or (iii) commenced litigation. Under well-settled law, Defendants knew or

   should have known they had a duty to preserve the videos. See Hyundai Motor Am. Corp., 2021

   WL 3111191, at *10 (finding that the second and third elements are satisfied because Defendants

   “allowed” the evidence to be destroyed “by not taking reasonable steps” to ensure their

   preservation “at a time when [they were] under a clear duty to preserve”).

                  d. Defendants’ Conduct Cannot Credibly Be Explained Except as Bad Faith.

          Defendants have provided no explanation for the failure to preserve the Lost Videos, let

   alone a reasonable one. Bang’s in-house counsel admitted that Bang: (i) did not preserve all

   videos; (ii) presently knows that at least 171 videos were lost or deleted; and (iii) refuses to search

   a Dropbox folder that may, but that may not, contain Lost Videos. (Rose Decl., Ex. 3 at ¶¶ 4-5, 7-

   9). Defendants’ deletion of videos, with no explanation whatsoever, is sufficient to establish bad

   faith because it was reckless even when viewed in the best light. See Hyundai Motor Am. Corp.,

   2021 WL 3111191, at *11 (finding bad faith where defendants “fail[ed] to offer an excuse that

   places culpability on anyone other than [Defendants] or otherwise sets forth any explanation, let

   alone a valid one, for the loss of the [evidence]”); Penick, 481 F. Supp. at 1294 (finding bad faith

   where plaintiff “fails to offer an excuse that in any way places fault on anyone else or which

   otherwise sets forth a valid reason to destroy the generator”).

          Accordingly, spoliation sanctions are warranted.

   C.     An Adverse Inference Is the Appropriate Remedy.

          “A district court has ‘broad discretion’ to impose spoliation sanctions, which derives ‘from


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   the court’s inherent power to manage its own affairs’ and ‘achieve the orderly and expeditious

   disposition of cases.’” Hyundai Motor Am. Corp., 2021 WL 3111191, at *5 (quoting Flury, 427

   F.3d at 944). “[S]poliation sanctions may include: (1) dismissal of the case; (2) exclusion of expert

   testimony; or (3) a jury instruction on spoliation which raises a presumption against the spoliator.”

   Id. (quoting Flury, 427 F.3d at 945). In determining the appropriate sanction for spoliation, courts

   consider (1) the bad faith of the spoliator; (2) the degree of prejudice sustained by the moving

   party; and (3) what is required to cure the prejudice. Schultze v. 2K Clevelander, LLC, No. 17-cv-

   22684, 2018 WL 4859071, at *7 (S.D. Fla. Oct. 4, 2018) (granting adverse inference that destroyed

   evidence would have been favorable to plaintiff).

          Here, Defendants acted recklessly, if not intentionally, with the knowledge that failure to

   preserve social media video posts would materially harm Plaintiffs’ case. See Hyundai Motor Am.

   Corp., 2021 WL 3111191, at *11 (“[T]he circumstances infer an awareness by [the plaintiff] that

   the non-preserved 144 engines would likely not help its case, leading [the plaintiff] to perhaps be

   deliberately ignorant of whether the engines were, in fact, being preserved as required.”).

          Further, Defendants’ conduct has in fact severely prejudiced Plaintiffs. The Lost Videos

   are direct evidence of Defendants’ infringement and would have shown, among other things, the

   number of times each video was viewed and its social media “reach,” which are important factors

   in determining damages.

          Courts routinely impose an adverse inference as a curative sanction where, as here, a party

   has spoliated unfavorable evidence. See Austrum v. Fed. Cleaning Contrs., Inc., 149 F. Supp. 3d

   1343, 1349 (S.D. Fla. Ja. 8, 2016; Graff, 310 F. App’x at 302; Penick, 481 F. Supp. 3d at 1295;

   Hyundai Motor Am. Corp., 2021 WL 3111191, at *14; Optowave Co., 2006 WL 3231422, at *12.

   The adverse inferences sought by Plaintiffs through this motion will obviate and cure the above



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   referenced prejudice to Plaintiffs that Defendants’ spoliation has caused.

                                              CONCLUSION

             For all of the foregoing reasons, Plaintiffs respectfully request that the Court grant their

   motion in its entirety and issue an Order: (i) imposing an adverse inference that for each video

   identified by Plaintiffs that cannot now be located because that video was not properly preserved,

   the video is deemed to have embodied the copyrighted sound recording as alleged; (ii) imposing

   an adverse inference that the Lost Videos were viewed as many times and had as much social

   media engagement and reach as the most popular videos posted by Defendants or their influencers

   on social media; (iii) awarding Plaintiffs the attorneys’ fees and costs they incurred in bringing

   this motion; and (iv) granting Plaintiffs such other and further relief as the Court deems just and

   proper.



   Dated: June 7, 2022                                         Respectfully submitted,

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